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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
            NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


MDL No. _______
         3035   & TITLE - IN RE: AME Church Employee Retirement Fund Litigation

1.    Oral Argument – Check ONE of the following boxes:

              ✔     The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                    hearing session on behalf of the designated party or parties. (Note: All attorneys
                    presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                    that:

                            Absent Panel approval and for good cause shown, only those parties to
                            actions who have filed a motion or written response to a motion or order
                            shall be permitted to present oral argument.

                    Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                    oral argument for the purpose of selecting a spokesperson to avoid duplication
                    during oral argument.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                    Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                    hearing session, through counsel or otherwise.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                    OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                    the attorney designated below shall present oral argument at the Panel hearing
                    session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                    In the event of a global waiver, the parties and their counsel need not attend the
                    hearing session.)

2.    Position on Centralization – Check ONE of the following boxes:

                    Support Centralization

                    Oppose Centralization

             ✔      Other Alternatively
                          ____________________________________________________________
                                        Support Centralization in another transferee district.

3.    Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
      centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
      if the Panel orders centralization over your objections, indicate your proposed transferee
      district(s) here:

      ________________________________________________________________________
      District of Maryland
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4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
      Reverend Cedric V. Alexander
      Plaintiff


6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
      See Attached.




7.    Name and Address of Attorney Designated to Present Oral Argument:

     Scott M. Lempert
     ____________________________________________________
     Name

     Kantor & Kantor, LLP
     ____________________________________________________
     Law Firm

     Northridge
     __________________________________________            _____
                                                            CA
     City                                                  State


      Telephone No.: _____________________________
                      818-886-2525

      Email Address: _______________________________________________________
                     slempert@kantorlaw.net




04/29/2022
_______________       __________________________
                      Scott M. Lempert                     s/ Scott M. Lempert
                                                           ______________________________
       Date                  Printed Name                          Authorized Signature




                                                                             JPML Form 9 (12/15)
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                  BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION

IN RE: AME CHURCH EMPLOYEE
       RETIREMENT FUND                            MDL NO. 3035
       LITIATION




 CASE LIST re: NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT

      1. Ewing v. Newport Group, Inc., et al., 2:22-cv-02136-JTF-atc (W.D. Tenn.);

      2. Jackson v. Newport Group, Inc., et al., 2:22-cv-02174-JTF-atc (W.D. Tenn.);

      3. Russ, et al., v. Newport Group, Inc., et al., 3:22-cv-00375-BJD-LLL (M.D. Fl.);

      4. Wade, et al., v. Newport Group, Inc., et al., 3:22-cv-00179-DJN (E.D. Va.);

      5. Alexander v. Harris, et al., 8:22-cv-00707-PJM (D. Md.).


Dated: April 29, 2022                            Respectfully submitted,

                                                 /s/ Scott M. Lempert
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                                                 Scott M. Lempert, Pro hac vice
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